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                                    Schedule 3
 1

 2                        (The First Element Transaction)

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                                           Case 2:19-ap-01382-SK                          Doc 265-21 Filed 07/28/21 Entered 07/28/21 10:37:50
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                                                                                                   Schedule 3 - The First Element Transaction
                                                                                                               Payments (Plane 1)

Date                Transferor                Transferor Bank       US Correspondent Bank 1           Transferee                Transferee Bank          US Correspondent Bank 1   Payment                            US Nexus

                                                                                                                                                                                                      • Financing on behalf of Zetta PTE for 9679
           Element Aviation Inc. (at the
                                                                                                                                                                                                               (aircraft registered in US)
12/30/2015 direction of Zetta PTE)                                                            Jetcoast 5000-5, LLC                                                                   $37,800,000.00
                                                                                                                                                                                                                   • USD Currency
                                                                                                                                                                                                              • US Correspondent Bank
                                                                                                                                                                                                                    • To US Bank
                                                                              
                                                                                                                                                                                                      • ABA Routing No. #XXXX-X959-3, Swift
                                           HSBC Singapore USD                                                                 Bank of America, New                                                         Code: BOFAUS3N, Account No.
12/10/2015 Zetta PTE                            Account                                       Jetcraft Corporation                  York US                                           $2,775,000.00               XXXXXXX0203
                                                                                                                                                                                                                   • USD Currency
                                                                                                                                                                                                              • US Correspondent Bank
                                                                                                                                                                                                                    • To US Bank
                                              Heritage Bank of                                                                                                                                        • ABA Routing No. #XXXX-X959-3, Swift
                                           Commerce, San Jose CA,                                                             Bank of America, New                                                         Code: BOFAUS3N, Account No.
12/31/2015 AAM                                       US                                      Jetcraft Corporation                  York US                                           $1,000,000.00               XXXXXXX0203
                                                                                                                                                                                                                   • USD Currency
                                                                                                                                                                                                              • US Correspondent Bank
                                                                                                                                                                                                                    • To US Bank
                                                                                                                                                                                                      • ABA Routing No. #XXXX-X959-3, Swift
                                           HSBC Singapore USD                                                                 Bank of America, New                                                         Code: BOFAUS3N, Account No.
  1/5/2016 Zetta PTE                            Account                                      Jetcraft Corporation                  York US                                           $1,780,000.00               XXXXXXX0203
                                                                                                                                                                                                                   • USD Currency
                                                                                                                                                                                                              • US Correspondent Bank
                                           HSBC Singapore USD                                                                                                                                           • Account Name: Element Aviation Inc.
  2/2/2016 Zetta PTE                            Account                                      Element Aviation Inc.             Bank of Montreal                                      $247,094.26          Account No. XXXXXXX1822
                                                                                                                                                                                                                   • USD Currency
                                                                                                                                                                                                              • US Correspondent Bank
                                           HSBC Singapore USD                                                                                                                                           • Account Name: Element Aviation Inc.
  3/3/2016 Zetta PTE                            Account                                      Element Aviation Inc.             Bank of Montreal                                      $650,000.00          Account No. XXXXXXX1822
                                                                                                                                                                                                                   • USD Currency
                                                                                                                                                                                                              • US Correspondent Bank
                                           HSBC Singapore USD                                                                                                                                           • Account Name: Element Aviation Inc.
  4/1/2016 Zetta PTE                            Account                                      Element Aviation Inc.             Bank of Montreal                                      $650,000.00          Account No. XXXXXXX1822
                                                                                                                                                                                                                   • USD Currency
                                                                                              Mourant Ozannes for the                                                                                         • US Correspondent Bank
                                           HSBC Singapore USD                                 benefit of Element Aviation,   Lloyds Bank International                                                 • Account Name: Mourant Ozannes, BVI;
  4/8/2016 Zetta PTE                            Account                                      Inc.                                   Limited                                           $11,010.40            Account No. XXXX0712
                                                                                                                                                                                                                   • USD Currency
                                                                                                                                                                                                              • US Correspondent Bank
                                           HSBC Singapore USD                                                                                                                                           • Account Name: Element Aviation Inc.
  5/4/2016 Zetta PTE                            Account                                      Element Aviation Inc.             Bank of Montreal                                      $650,000.00          Account No. XXXXXXX1822
                                                                                                                                                                                                                   • USD Currency
                                                                                                                                                                                                              • US Correspondent Bank
                                           HSBC Singapore USD                                                                                                                                           • Account Name: Element Aviation Inc.
  6/3/2016 Zetta PTE                            Account                                      Element Aviation Inc.             Bank of Montreal                                      $650,000.00          Account No. XXXXXXX1822
                                                                                                                                                                                                                   • USD Currency
                                                                                                                                                                                                              • US Correspondent Bank
                                           HSBC Singapore USD                                                                                                                                           • Account Name: Element Aviation Inc.
  7/7/2016 Zetta PTE                            Account                                      Element Aviation Inc.             Bank of Montreal                                      $650,000.00          Account No. XXXXXXX1822
                                                                                                                                                                                                                   • USD Currency
                                                                                                                                                                                                              • US Correspondent Bank
                                           HSBC Singapore USD                                                                                                                                           • Account Name: Element Aviation Inc.
  8/1/2016 Zetta PTE                            Account                                      Element Aviation Inc.             Bank of Montreal                                      $650,000.00          Account No. XXXXXXX1822
                                                                                                                                                                                                                   • USD Currency
                                                                                                                                                                                                              • US Correspondent Bank
                                           HSBC Singapore USD                                                                                                                                           • Account Name: Element Aviation Inc.
  9/6/2016 Zetta PTE                            Account                                      Element Aviation Inc.             Bank of Montreal                                      $650,000.00          Account No. XXXXXXX1822
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                                                                                                               Desc Schedule 3 Page 3 of 3

                                                                                                                                                                                                            • USD Currency
                                                                                                                                                                                                       • US Correspondent Bank
                                               HSBC Singapore USD                                                                                                                                • Account Name: Element Aviation Inc.
10/5/2016 Zetta PTE                                 Account                                                       Element Aviation Inc.             Bank of Montreal            $650,000.00        Account No. XXXXXXX1822
                                                                                                                                                                                                            • USD Currency
                                                                                                                                                                                                       • US Correspondent Bank
                                               HSBC Singapore USD                                                                                                                                • Account Name: Element Aviation Inc.
11/3/2016 Zetta PTE                                 Account                                                       Element Aviation Inc.             Bank of Montreal            $650,000.00        Account No. XXXXXXX1822
                                                                                                                                                                                                            • USD Currency
                                                                                                                                                                                                       • US Correspondent Bank
                                               HSBC Singapore USD                                                                                                                                • Account Name: Element Aviation Inc.
12/5/2016 Zetta PTE                                 Account                                                       Element Aviation Inc.             Bank of Montreal            $650,000.00        Account No. XXXXXXX1822
                                                                                                                                                                                                            • USD Currency
                                                                                                                                                                                                       • US Correspondent Bank
                                               HSBC Singapore USD                                                                                                                                • Account Name: Element Aviation Inc.
 1/9/2017 Zetta PTE                                 Account                                                       Element Aviation Inc.             Bank of Montreal            $650,000.00        Account No. XXXXXXX1822
                                                                                                                                                                                                            • USD Currency
                                                                                                                                                                                                       • US Correspondent Bank
                                               HSBC Singapore USD                                                                                                                                • Account Name: Element Aviation Inc.
 2/2/2017 Zetta PTE                                 Account                                                       Element Aviation Inc.             Bank of Montreal            $650,000.00        Account No. XXXXXXX1822
                                                                                                                                                                                                            • USD Currency
                                                                                                                                                                                                       • US Correspondent Bank
                                               HSBC Singapore USD                                                                                                                                • Account Name: Element Aviation Inc.
 3/2/2017 Zetta PTE                                 Account                                                       Element Aviation Inc.             Bank of Montreal            $550,000.00        Account No. XXXXXXX1822
                                                                                                                                                                                                            • USD Currency
                                                                                                                                                                                                       • US Correspondent Bank
                                               HSBC Singapore USD                                                                                                                                • Account Name: Element Aviation Inc.
 5/5/2017 Zetta PTE                                 Account                                                       Element Aviation Inc.             Bank of Montreal            $550,000.00        Account No. XXXXXXX1822
                                                                                                                                                                                                            • USD Currency
                                                                                                                                                                                                       • US Correspondent Bank
                                               HSBC Singapore USD                                                                                                                                • Account Name: Element Aviation Inc.
5/23/2017 Zetta PTE                                 Account                                                       Element Aviation Inc.             Bank of Montreal            $550,000.00        Account No. XXXXXXX1822
                                                                                                                                                                                                            • USD Currency
                                                                                                                                                                                                       • US Correspondent Bank
                                               HSBC Singapore USD                                                                                                                                • Account Name: Element Aviation Inc.
 6/8/2017 Zetta PTE                                 Account                                                       Element Aviation Inc.             Bank of Montreal            $550,000.00        Account No. XXXXXXX1822
                                                                                                                                                                                                            • USD Currency
                                                                                                                   Mourant Ozannes for the                                                             • US Correspondent Bank
                                               HSBC Singapore USD                                                  benefit of Element Aviation,   Lloyds Bank International                     • Account Name: Mourant Ozannes, BVI;
6/27/2017 Zetta PTE                                 Account                                                       Inc.                                   Limited                 $26,748.41          Account No. XXXX0712
                                                                                                                                                                                                            • USD Currency
                                                                                                                                                                                                       • US Correspondent Bank
                                               HSBC Singapore USD                                                                                                                                • Account Name: Element Aviation Inc.
 7/3/2017 Zetta PTE                                 Account                                                       Element Aviation Inc.             Bank of Montreal            $550,000.00        Account No. XXXXXXX1822
                                                                                                                                                                                                            • USD Currency
                                                                                                                   Mourant Ozannes for the                                                             • US Correspondent Bank
                                               HSBC Singapore USD                                                  benefit of Element Aviation,   Lloyds Bank International                     • Account Name: Mourant Ozannes, BVI;
 7/3/2017 Zetta PTE                                 Account                                                       Inc.                                   Limited                  $7,764.80          Account No. XXXX0712
                                                                                                                                                                                                            • USD Currency
                                                                                                                                                                                                       • US Correspondent Bank
                                               HSBC Singapore USD                                                                                                                                • Account Name: Element Aviation Inc.
8/10/2017 Zetta PTE                                 Account                                                       Element Aviation Inc.             Bank of Montreal            $550,000.00        Account No. XXXXXXX1822

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           A  indicates, upon Trustee’s information and belief, that a US Correspondent Bank was involved in
         transfer. A blank indicates a not applicable. A bank name indicates the US Correspondent Bank involved.
